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AO 245B       (Rev. 01/10) Judgment in Criminal Case
              Sheet 2 — Imprisonment

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DEFENDANT:                       MARIA CHRISTINA VITAL-ESCOBEDO a/k/a Christina
CASE NUMBER:                     CR 10-4045-10-MWB


                                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
60 months. This term consists of 60 months on Count 1 and 60 months on Count 8 of the Indictment, to be served
concurrently.




O         The court makes the following recommendations to the Bureau of Prisons:
          The defendant be designated to Wascea, Minnesota, if commensurate with her security and custody classification
          needs.
          The defendant participate in the Bureau of Prisons’ 500 hour Comprehensive Residential Drug Abuse Program.


O         The defendant is remanded to the custody of the United States Marshal.

G         The defendant shall surrender to the United States Marshal for this district:
          G      at                                    G a.m.      G p.m.        on                                             .
          G      as notified by the United States Marshal.

G         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G      before 2 p.m. on                                            .
          G      as notified by the United States Marshal.
          G      as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                             to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL




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